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July 5, 2022



Magistrate Judge Stephen C. Dries
United States Courthouse Room 296
517 East Wisconsin Avenue
Milwaukee, WI 53202

        RE:      Retzlaff vs. Kitzman
                 Case No. 22 CV 573

Dear Judge Dries:

On June 14, 2022, Defendant Justin Kitzman filed a Motion to Dismiss Plaintiff's Complaint for failure to
state a claim upon which relief could be granted. [Dkt. 5.] Defendant also filed a motion to consolidate this
with Case No. 22-CV-574 on June 15, 2022. [Dkt. 8.] Plaintiff filed a motion for extension, presumably to
file responses to the two motions, on June 23, 2022. [Dkt. 11.] Plaintiff then filed an "Affidavit of Truth"
on June 24, 2022. [Dkt. 12.] It is unclear what the document purports to be or how it relates to any of the
pending motions, but it does not appear to respond to either of the pending motions.

However, for the sake of keeping the case moving along, Defendant does not oppose granting Plaintiff a
brief extension to respond to the motions. Her response to the Motion to Dismiss is due July 8, 2022, while
her response to the Motion to Consolidate is due July 11, 2022. See Civil L.R. 7(b); Fed. R. Civ. P. 6(d);
6(a). Defendant is amenable to granting an additional 10 days to respond to the motions and Defendant
respectfully requests that the Court enter an order to that effect clearly documenting the Plaintiff's upcoming
deadlines and advising her of her obligations.

Thank you for your consideration.

Sincerely,

AXLEY BRYNELSON, LLP



Danielle Baudhuin Tierney
DBT/rh

CC:     Ann-Marie Retzlaff




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